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                                UNITEDSTATESDISTMCTCOURT
                                 SOUTHERNDISTMCTOF OfflO                             '^^ PR 18 ^'in. !-
                                       EASTERN DIVISION



 UNITED STATES OF AMEMCA
                                                        CASENO.              ^:.^. ^.^
                   Plaintiff,
                                                        JUDGE                pr\<?-Tr^cn^
         V.
                                                        INDICTMENT
 NICHOLAS P. DUTY
                                                        18 U. S. C. § 1519
                   Defendant.




THE GRAND JURY CHARGES:

                                         INTRODUCTION

       At times material to this Indictment:


       1.        The defendant, NICHOLAS P. DUTY, worked as a police officer for the

Columbus DivisionofPolice ("CPD"), a law enforcement agency in Columbus, Ohio.

       2.        NICHOLASP. DUTY was on duty, wearing a police uniform, in a marked

police vehicle, andassigneda Body Worn Camera("BWC").

       3.        NICHOLAS P. DUTY was required to comply with CPD policies and

procedures for wearing a division-issued BWC, including the following Division Directives,

which he signed and acbiowledged on or about June 30, 2018, December 1, 2020, April 30,

2021, and September 30, 2023:

              a. DivisionDirective 11.07(II)(A)(1): Swornpersonnel assigneda BWC shall wear
                 the BWC andhave it poweredon while on duty[.]

              b. DivisionDirective 11.07(B)(l)(b)(l): Swornpersonnel shall activatethe BWC
                 prior to exiting their vehicle, or if not in a vehicle, prior to approaching an
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                individual, for all self-initiatedenforcement actions, investigative activities, and
                citizen contacts or any time citizencontact is likely to occur.

            c. Division Directive 11.07(B)(l)(b)(2): Swornpersonnel shall activate the BWC
                as soon as it is reasonable and safe to do so any time a citizen initiates contact.

            d. Division Directive 11.07(M): Swornpersonnel shall continue recordinguntil the
               enforcement activity or encounterhas ended, or until they are ordered/permitted
               to stop recording by a sworn supervisor.

            e. Division Directive 11. 07(V): If sworn personnel do not record the entire contact,
               justification shall be expressedverbally on the BWC beforeturning it offwhenit
               is safe and practical to do so.

            f. Division Directive 11.07(W): Swornpersoimel shall re-activatethe BWC when
               applicable if they re-engagesuspects/citizens.

            g. Division Directive 11.07(Z): Personnel shall not tamper with, erase, alter, or
               destroy any original recorded section of video or audio.


                                             COUNT ONE
                       (Destruction, Alteration, or Falsification of Records)

       4.      Paragraphs 1 through 3 are incorporatedherein.

       5.      On or about October 3 1, 2023, in the Southern District of Ohio, the defendant,

NICHOLAS P. DUTY, acting in relation to and in contemplation of a matter within the

jurisdiction ofHomeland Security Investigations andthe FederalBureauofInvestigation,

departments and agencies ofthe United States, knowingly altered, concealed, covered up, and

falsifieda record withthe intent to impede, obstruct, andinfluence the investigationandproper

administrationofthat matter. Specifically,the defendant, NICHOLASP. DUTY, knowingly

altered, concealed, coveredup, and falsifieda CPDrecord by deactivatinghis BWC during an

interaction with Jane Doe One.

       In violation of 18 U. S. C. § 1519.
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                                          COUNT TWO
                       (Destmction, Alternation, or Falsification of Records)

        6.     Paragraphs 1 through 3 are incorporatedherein.

        7.     On or aboutMarch22, 2024, in the SouthernDistrict of Ohio, the defendant,

NICHOLASP. DUTY, acting in relationto andin contemplation ofa matter withinthe

jurisdiction of Homeland Security Investigations and the Federal Bureau of Investigation,

departments and agencies of the United States, knowingly altered, concealed, covered up, and

falsified a record with the intent to impede, obstruct, and influence the investigation and proper

administration ofthat matter. Specifically, the defendant, NICHOLAS P. DUTY, knowingly

altered, concealed, covered up, and falsified a CPD record by removing and obscuring his BWC

during a sexual encounter with Jane Doe Two.

       In violation of 18 U.S.C. 1519

                                                      A TRUE BILL.

                                                      ^/ ^o-^^(c^~L' -
                                                      FOREPERSON



KENNETHL^PARKER
Umfe^i States Attome



EMILY C^RNl^JEWSKI (IL 6308829)
KEVIN IffiL^EY^OH 0042406)
Assistant Unite3~States Attorneys
